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 6 Attorney for Defendant

 7 GAL YIFRACH

 8                              IN THE UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:22-CR-00046 WBS

12                               Plaintiff,             STIPULATION CONTINUING STATUS
                                                        CONFERENCE TO SEPTEMBER 9, 2024, AT 9:00
13                         v.                           A.M. AND FOR EXCLUDABLE TIME PERIODS
                                                        UNDER SPEEDY TRIAL ACT AND ORDER
14   GAL YIFRACH, et al.,

15                               Defendants.

16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and remaining

19 defendants, by and through their counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for a status conference before this Court on

21 Jun 24, 2024.

22          2.     By this stipulation, the parties acknowledge that, at the status conference on June 24,

23 2034, the Court ordered, at defendants’ request unopposed by the government, a status conference for

24 September 9, 2024. The parties hereby stipulate to an exclusion of time between Jun 24, 2024, and

25 September 9, 2024 under Local Code T4.

26          3.     The parties agree and stipulate, and request that the Court find the following:

27                 a)      The government has produced 142,689 pages of numbered discovery to

28          defendants, which includes copies of documents and recordings; and, the government has

      STIPULATION REGARDING EXCLUDABLE TIME
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 1          provided additional materials for production in discovery consisting of a number of electronic

 2          devices seized including phones, laptops and various external storage devices, as well as email

 3          accounts. In addition, the government represented on June 24, 2024 that it was preparing to

 4          discover additional material relating to the seizure of items from defendant Gal Yifrach on July

 5          23, 2023. The Court ordered that such discovery be delivered within 10 days of June 24, 2024.

 6                 b)      Counsel for each defendant desires additional time to familiarize themselves with

 7          the case and review the voluminous discovery, including such discovery as may be produced by

 8          the government within 10 days of June 24, 2024, discuss the case with their respective clients

 9          and the attorney for the United States, and otherwise prepare for trial, which includes consulting

10          with one or more forensic experts, including a forensic accountant.

11                 c)      Counsel for the defendants believes that failure to grant the above-requested

12          continuance would deny them the reasonable time necessary for effective preparation, taking into

13          account the exercise of due diligence; and, their respective litigation commitments.

14                 d)      The government does not object to the continuance.

15                 e)      On June 24, 2024, the Court ordered that defense counsel present a joint status

16          conference statement to the Court on or before August 23, 2024.

17                 f)      Based on the above-stated findings, the ends of justice served by continuing the

18          case as requested outweigh the interest of the public and the defendants in a trial within the

19          original date prescribed by the Speedy Trial Act.

20                 g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

21          et seq., within which trial must commence, the time period of Jun 24, 2024, to September 9,

22          2024, at 9:00 a.m., inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv)

23          [Local Code T4] because it results from a continuance granted by the Court at the defendants’

24          request on the basis of the Court’s finding that the ends of justice served by taking such action

25          outweigh the best interest of the public and the defendants in a speedy trial.

26          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

27 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

28 must commence.

      STIPULATION REGARDING EXCLUDABLE TIME
      PERIODS UNDER SPEEDY TRIAL ACT
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 1         IT IS SO STIPULATED.

 2 Dated: June 25, 2024                          PHILLIP A. TALBERT
                                                 United States Attorney
 3

 4                                               /s/ ROGER YANG
                                                 ROGER YANG
 5                                               Assistant United States Attorney
 6

 7

 8         IT IS SO STIPULATED BY ALL DEFENDANTS.
 9 Dated: June 25, 2024                          /s/ DAVID W. DRATMAN
10                                               DAVID W. DRATMAN
                                                 Counsel for Defendant GAL YIFRACH
11

12   Dated: June 25, 2024                        /s/ DAVID E. KENNER
                                                  DAVID E. KENNER
13                                                Counsel for Defendant
                                                  SHALOM IFRACH
14

15
     Dated: June 25, 2024                       /s/ VICTOR SHERMAN
16                                               VICTOR SHERMAN
                                                 Counsel for Defendant
17                                               NICK SHKOLNIK
18

19                                            ORDER

20         IT IS SO FOUND AND ORDERED.

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           Dated: June 26, 2024
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      STIPULATION REGARDING EXCLUDABLE TIME
      PERIODS UNDER SPEEDY TRIAL ACT
